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                          UNITED STATES BANKRUPTCY COURT
                          EASTERN DISTRICT OF PENNSYLVANIA

In Re:                                                   Chapter 13
         Amelia D Shelton-Bailey                         Bankruptcy No.20-11818-AMC


                              Debtor

                          OBJECTION OF CHAPTER 13 TRUSTEE
                         TO CONFIRMATION OF PLAN OF DEBTOR

        AND NOW comes Scott F. Waterman, Esq., Standing Chapter 13 Standing Trustee, to
object to confirmation of the chapter 13 plan of the Debtor, because it fails to comply with 11
U.S.C. Sections 1322 and/or 1325 of the Bankruptcy Code, and/or Debtor has failed to provide
information, evidence, or corrections to the petition, schedules, statements, or other documents
filed by Debtor to enable the standing trustee to evaluate the Plan for confirmation, as follows:


       Debtor(s) has/have failed to provide required documentation as to income as directed at
the meeting of creditors held under 11 U.S.C. Section 341(a).

        The claims and/or claim amounts identified in the Plan are inconsistent with one or more
filed proofs of claim.

      WHEREFORE, the standing trustee requests that the Court enter an order in the form
annexed hereto denying confirmation of the Plan.


                                                 Respectfully submitted,

                                                 /s/ Scott F. Waterman
                                                 Scott F. Waterman, Esquire
                                                 Chapter 13 Standing Trustee
